              Case 2:09-cr-00358-WBS Document 66 Filed 08/30/11 Page 1 of 3


 1   Tim A. Pori (SBN 189270)
     LAW OFFICES OF TIM A. PORI
 2   521 Georgia Street
     Vallejo, CA 94590
 3   Telephone: (707) 644-4004
 4   Attorney for Defendant AGUILAR LARA
 5
 6                            UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                          Case No. CR-S-09-0358 WBS
10
                          Plaintiff,
11                                                      STIPULATION AND ORDER TO
     vs.                                                EXCLUDE TIME
12
     ERIK F. AGUILAR LARA
13
                          Defendant.
14
     ________________________________/
15
16          The parties hereby stipulate that the status conference in this case be continued
17   from August 29, 2011, to October 11, 2011, at 8:30 a.m. The parties stipulate that the
18   time between August 29, 2011, and October 11, 2011, should be excluded from the
19   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of
20   justice are served by the Court excluding such time, so that counsel for the defendant may
21   have reasonable time necessary for effective preparation, taking into account the exercise
22   of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Specifically,
23   counsel for defendants needs additional time to review the discovery and investigate the
24   case. Therefore the parties have stipulated to continue the status conference in this case.
25   The parties stipulate and agree that the interests of justice served by granting this
26   continuance outweigh the best interests of the public and the defendant in a speedy trial.
27
28                                                 1
             Case 2:09-cr-00358-WBS Document 66 Filed 08/30/11 Page 2 of 3


 1   18 U.S.C. § 3161 (h)(7)(A).
 2
 3                                      Respectfully submitted
 4
     Date: August 25, 2011                 /s/ Tim A. Pori
 5                                      TIM A. PORI
                                        Attorney for Defendant AGUILAR LARA
 6
 7
     Date: August 26, 2011               /s/ Heiko Philipp Cpppola
 8                                      HEIKO PHILIPP COPPOLA
                                        Assistant U.S. Attorney
 9
10   Date: August 25 , 2011             /s/ Michael Petrik
                                        MICHAEL PETRIK
11                                      Attorney for Defendant JOSE ZAPIEN
12
     Date: August 25, 2011              /s/ Gilbert Roque
13                                      GILBERT ROQUE
                                        Attorney for Defendant RAMIRO SUAREZ
14
15   Date: August 25, 2011              /s/ Olaf Hedberg
                                        OLAF HEDBERG
16                                      Attorney for Defendant JOSE FERNANDEZ
17
     Date: August 25, 2011              /s/ Clemente Jimenez
18                                      CLEMENTE JIMENEZ
                                        Attorney for Defendant JOSE GUTIERREZ
19
20   Date: August 25, 2011              /s/ Ruben Munoz
                                        RUBEN MUNOZ
21                                      Attorney for Defendant ADOLFO ALVAREZ
22
23
24
25
26
27
28


                                           2
              Case 2:09-cr-00358-WBS Document 66 Filed 08/30/11 Page 3 of 3


 1                                          ORDER
 2         IT IS HEREBY ORDERED that the Status Conference in the above-entitled
 3   matter is continued to October 11, 2011, at 8:30 a.m. before the Honorable William
 4   Shubb.
 5   Dated: August 28, 2011
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                3
